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  8                              UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
 10                                   WESTERN DIVISION
 11
 12 LUCAS R., et al.,                          Case No. 2:18-CV-05741 DMG PLA
 13                   Plaintiffs,
                                               PLAINTIFFS’ REQUEST FOR DECISION
 14         v.                                 ON PARTIES’ PROPOSED PRELIMINARY
                                               INJUNCTIONS RE CROSS-MOTIONS FOR
 15 XAVIER BECERRA, et al.,                    SUMMARY JUDGMENT (DKTS. 379 AND
                                               381.)
 16                   Defendants.
                                               Complaint Filed: June 29, 2018
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                                               Judge: Hon. Dolly M. Gee
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                                                                  PLAINTIFFS’ REQUEST FOR DECISION
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                                                           PLAINTIFFS’ REQUEST FOR DECISION
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  1         Local Rule 83-9 of the Central District of California provides that where a
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      submitted matter does not have a decision rendered and filed within 120 days after
  3
  4   submission, the parties are required to file a “joint request that such decision be made[.]”

  5   This filing is intended to satisfy the Plaintiffs’ obligation1 under that rule with respect
  6
      to the parties’ proposed preliminary injunction orders (Dkts. 379 and 381) which were
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  8   filed pursuant to the Court’s order on the parties’ cross-motions for summary judgment
  9   (Dkt. 376).
 10
            The Court issued its order on the parties’ cross-motions for summary judgment
 11
 12   on March 11, 2022 (“Order”). (Dkt. 376.) In its Order, the Court directed the parties
 13   to meet and confer and submit a proposed preliminary injunction order consistent with
 14
      the Order by April 1, 2022. The parties met and conferred but were unable to reach
 15
 16   agreement on a proposed preliminary injunction order. On April 1, 2022, the parties
 17   submitted separate proposed preliminary injunction orders for the Court’s
 18
      consideration. (See Dkts. 379, 380, 381.) Accordingly, more than 120 days have passed
 19
 20   since the proposed preliminary injunction orders were submitted.
 21
            Respectfully submitted.
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        Defendants declined to join this request, noting “Defendants do not believe the
      language [of L.R. 83-9.2] applies because the [C]ourt has issued a decision on the matter
 27   submitted (i.e., the decision on cross motions for partial summary judgment).”
      Plaintiffs respectfully disagree with Defendants’ interpretation of the Local Rule;
 28   accordingly, Plaintiffs make this filing.
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  1
      Dated: August 5, 2022           COOLEY LLP
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